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                                                                                  2020 Feb-07 AM 09:23
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        EASTERN DIVISION


 DIANE MIKULIN,                            }
                                           }
       Plaintiff,                          }
                                           }
 v.                                        }   Case No.: 1:19-mc-01590-MHH
                                           }
 LAW SOLUTIONS CHICAGO,                    }
 LLC; UPRIGHT LAW, LLC,                    }
                                           }
       Defendants.


                                  FINAL ORDER

      Consistent with its January 31, 2020 memorandum opinion, (Doc. 12), the

Court denies without prejudice Ms. Mikulin’s motion to withdraw the reference.

The Court directs the Clerk of Court to please close the file. The Court also asks the

Clerk to please mail a copy of this order to the Clerk of Court for the United States

Bankruptcy Court for the Northern District of Alabama.

      DONE and ORDERED this February 7, 2020.


                                    _________________________________
                                    MADELINE HUGHES HAIKALA
                                    UNITED STATES DISTRICT JUDGE




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